                                 LOCAL BANKRUPTCY FORM 3015-1

                             UNITED STATES BANKRUPTCY COURT
                         FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 In Re:                                                         Chapter 13
                                                                Case No. 1:17-bk-02784
 ENRICO VAIL SMITH
   Debtor                                                     CHAPTER 13 PLAN
                                                              (Indicate if applicable)
                                                                 0 Motion to avoid liens
                                                                 1 Motion to value collateral
                                                                 Original Plan
                                                                 First Amended Plan
                                 YOUR RIGHTS WILL BE AFFECTED
 If you oppose any provision of this plan you must file a timely written objection. This plan may be
 confirmed and become binding on you without further notice or hearing unless a written objection is
 filed before the deadline stated on the Notice issued in connection with the filing of the plan.

                                FIRST AMENDED PLAN PROVISIONS

 DISCHARGE: (Check one)
    The debtor will seek a discharge of debts pursuant to Section 1328(a).
    The debtor is not eligible for a discharge of debts because the debtor has previously received a
            discharge described in Section 1328(f).

 NOTICE OF SPECIAL PROVISIONS: (Check if applicable)
            This plan contains special provisions that are not included in the standard plan as
            approved by the U.S. Bankruptcy Court for the Middle District of Pennsylvania.
            Those provisions are set out in Section 8 of this plan. Other than to insert text
            into the designated spaces or to expand the tables to include additional claims, the
            preprinted language of this form may not be altered. This does not mean that the
            Debtor is prohibited from proposing additional or different plan provisions in
            Section 8. The Debtor may propose additional or different plan provisions or
            specify that any of the provisions will not be applicable, provided however, that
            each such provision or deletion shall be set forth herein in Section 8.

 1. PLAN FUNDING AND LENGTH OF PLAN

   A.      Plan Payments

            1.     To date, the Debtor(s) has paid $420.00 (enter $ 0.00 if no payments have been
                   made to the Trustee to date). Debtor(s) shall pay to the Trustee for the remaining
                   term of the plan the following payments. If applicable, in addition to monthly
                   plan payments, Debtor(s) shall make conduit payments through the Trustee as set
                   forth below. The total base plan is $15,435.00, plus other payments and property
                   stated in Section 1B below:




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       Start             End            Plan Payment            Estimated Conduit            Total
      mm/yy             mm/yy                                       Payment                 Payment
  07/2017          11/2017 (5 mos) $                           $                      $ 420.00
  12/2017          06/2022 (55 mos) $ 273.00                   $                      $15,015.00
                                    $                          $                      $
                                    $                          $                      $
                                    $                          $                      $
                                                               Total Payments         $15,435.00

           2.     If the plan provides for conduit mortgage payments, and the mortgagee
                  notifies the Trustee that a different payment is due, the Trustee shall notify
                  the Debtor and the attorney for the Debtor, in writing, to adjust the conduit
                  payments and the plan funding accordingly. Debtor(s) is responsible for
                  all post-petition mortgage payments due prior to the initiation of conduit
                  mortgage payments.

           3.     Debtor(s) shall take appropriate action to ensure that all applicable wage
                  attachments are adjusted to conform to the terms of the plan.

          4.      CHECK ONE:              Debtor(s) is at or under median income.
                                          Debtor(s) is over median income. Debtor(s)
                                      calculates that a minimum of $         must be paid to
                                      unsecured, non-priority creditors in order to comply
                                      with the Means Test.

    B. Liquidation of Assets
           1.     In addition to the above specified plan payments, Debtor(s) shall dedicate
                   to the plan proceeds in the estimated amount of $ from the
                  sale of property known and designated as __________________________
                 ____________________________. All sales shall be completed by
                 ___________________, 20____. If the property does not sell by the date
                 specified, then the disposition of the property shall be as follows:
                 ____________________________________________________________

           2.    Other payments from any source(s) (describe specifically) shall be paid to
                 the Trustee as follows: If Debtor is currently unemployed upon finding
                 employment, Debtor will provide a paystub to the trustee and file an amended
                 plan if warranted by the change in income.

           3.    The Debtor estimates that the liquidation value of this estate is $. (Liquidation
                 value is calculated as the value of all nonexempt assets after the deduction of
                 valid liens and encumbrances and before the deduction of Trustee fees and
                 priority claims.)

  2. SECURED CLAIMS
     A.  Pre-Confirmation Distributions. Adequate protection and conduit payments in the
         following amounts will be paid by the Debtor to the Trustee. The Trustee will
         disburse these payments for which a proof of claim has been filed as soon as
         practicable after receipt of said payments from the Debtor.




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     Name of Creditor                    Address                     Account #                     Estimated
                                                                                                    Monthly
                                                                                                    Payment
  NONE                                                                                    $

     The Trustee will not make a partial payment. If the Debtor makes a partial plan payment,
     or if it is not paid on time and the Trustee is unable to pay timely a payment due on a
     claim in this section, the Debtor’s cure of this default must include any applicable late
     charges.

     Upon receipt, Debtor shall mail to the Trustee all notices from mortgagees including
     statements, payment coupons, impound and escrow notices, and notices concerning
     changes of the interest rate on variable interest rate loans. If any such notice informs the
     Debtor that the amount of the payment has increased or decreased, the change in the plan
     payment to the Trustee will not require modification of this plan.

    B.        Mortgages and Other Direct Payments by Debtor. Payments will be made outside
              the plan according to the original contract terms, unless otherwise agreed to by the
              contracting parties, with no modification of contract terms and with liens retained. All
              mortgage and other lien claim balances survive the plan if not avoided or paid in full
              under the plan.

      Name of Creditor                  Description of Collateral          Contractual         Principal
                                                                            Monthly           Balance of
                                                                             Payment             Claim
  ALLY              2013 Hyundai Sonata Ltd black                         $329.85             $15,903.00(
                    (approx. 47500 miles                                                      Approximate)
  FREEDOM ROAD      2013 Triumph Speed Triple 3cyl                        $140.00             $7,017.00(A
  FINANCIAL         (approx. 1500 miles                                                       pproximate)
  SUNTRUST MORTGAGE 1241 Main St, Oberlin, PA 17113                       $823.50             $131,691.00(
                                                                                              Approximate)

         C.      Arrears. The Trustee shall distribute the amount of pre-petition arrearages set
                 forth in the allowed proof of claim to each secured creditor set forth below. If the
                 Debtor or the Trustee objects to a proof of claim and the objection is sustained, or
                 if the plan provides for payment of amounts greater than the allowed proof of
                 claim, the creditor's claim will be paid in the amount allowed by the court.

    Name of Creditor                  Description of Collateral            Estimated Estimated          Estimated
                                                                          Pre-petition      Post-       Total to be
                                                                          Arrears to be petition        paid in plan
                                                                              Cured      Arrears to
                                                                                          be Cured
  ALLY                        2013 Hyundai Sonata Ltd black               Per allowed                   Per allowed
                              (approx. 47500 miles                        proof of claim                proof of claim
                                                                          ($0.00
                                                                          anticipated)
  FREEDOM ROAD                2013 Triumph Speed Triple 3cyl              Per allowed                   Per allowed
  FINANCIAL                   (approx. 1500 miles                         proof of claim                proof of claim
                                                                          ($0.00
                                                                          anticipated)



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  SUNTRUST                 1241 Main St, Oberlin, PA 17113             Per allowed                   Per allowed
  MORTGAGE                                                             proof of claim                proof of claim
                                                                       ($4,382.55
                                                                       estimated)

       D.    Secured Claims Paid According to Modified Terms. These amounts will be paid
             in the plan according to modified terms, and liens retained until entry of
             discharge. The excess of the creditor's claim will be treated as an unsecured
             claim. Any claim listed as “NO VALUE” in the “Modified Principal Balance”
             column below will be treated as an unsecured claim. THE LIENS WILL BE
             AVOIDED OR LIMITED THROUGH THE PLAN OR DEBTOR(S) WILL FILE
             AN ADVERSARY ACTION TO DETERMINE THE EXTENT, VALIDITY,
             AND PRIORITY OF THE LIEN (Select method in last column):

    Name of Creditor           Description of Collateral
                                                 Modified Interest Total     Plan* or
                                                 Principal   Rate    Payment Adversary
                                                  Balance                      Action
 IRS CENTRALIZED 1241 Main St, Oberlin, PA 17113 $5,575.00 current $6,011.00 Plan --
 INSOLVENCY                                                statutory         Cram Down
 ORGANIZATION                                              rate of
                                                           interest
                                                           (approx.
                                                           3%)
 * "PLAN" INDICATES THAT THE DEBTOR PROPOSES TO AVOID OR LIMIT
 THE LIEN OF THE CREDITOR IN THIS PLAN. CONFIRMATION OF THE PLAN
 SHALL CONSTITUTE A FINDING OF VALUATION PURSUANT TO SECTION
 506(a). NO ADVERSARY COMPLAINT OR MOTION WILL BE FILED AND THE
 LIEN WILL BE AVOIDED BY A CONFIRMATION ORDER UPON DISCHARGE. IF
 THE CREDITOR WISHES TO CONTEST THE AVOIDANCE OF THE LIEN, THE
 CREDITOR MUST FILE AN OBJECTION TO THIS PLAN. OTHERWISE
 CONFIRMATION OF THE PLAN WILL AVOID THE LIEN UPON DISCHARGE

       E.      Other Secured Claims. (Including conduit payments)

    Name of Creditor              Description of Collateral               Principal       Interest Total to be
                                                                          Balance of        Rate paid in plan
                                                                            Claim
  VA MORTGAGE              1241 Main St, Oberlin, PA 17113                                       %    No
  GUARANTEE                                                                                           Payments on
                                                                                                      Contingent
                                                                                                      Claim

       F.      Surrender of Collateral. Debtor(s) surrenders the following assets to secured
               creditors. Upon confirmation of the plan, bankruptcy stays are lifted as to the
               collateral to be surrendered. This provision does not prejudice a creditor's right
               to move to lift the stay prior to confirmation.

      Name of Creditor                              Description of Collateral to be Surrendered
  NONE


        G.   Lien Avoidance. The debtor moves to avoid the following judicial and/or
             nonpossessory, non-purchase money liens of the following creditors pursuant to
             Section 522(f) (this section should not be used for statutory or consensual liens



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                    such as mortgages):

      Name of Creditor                                               Description of Collateral
  NONE

         H.         Optional provision regarding duties of certain mortgage holders and servicers.
                    Property of the estate vests upon closing of the case, and debtor elects to include
                    the following provisions. (Check if applicable)

                    (x)    Confirmation of the plan shall impose an affirmative duty on the holders
                           and/or servicers of any claims secured by liens, mortgages and or/deeds of
                           trust on the principal residence of the debtor to do the following:

                           (1)     Apply the payments received from the trustee on the pre-petition
                           arrearage, if any, only to such arrearage. For purposes of this plan, the
                           "pre-petition arrearage" shall include all sums included in the "allowed"
                            proof of claim and shall have a "0" balance after both: (1) the Discharge
                            Order in this case has been entered; and (2) payment in full of the allowed
                            proof of claim has been made.

                           (2) Deem the pre-petition arrearage as contractually current upon
                           confirmation of the plan, thereby precluding the imposition of late
                           payment charges or other default-related fees and services based solely on
                           the pre-petition default or defaults.

                           (3)   Apply the post-petition monthly mortgage payments made by the
                           debtor to the post-petition mortgage obligations as provided for by the
                           terms of the underlying mortgage note. Late charges may be assessed on
                           post-petition payments as provided by the terms of the mortgage and note.

 3. PRIORITY CLAIMS

    A.        Allowed unsecured claims entitled to priority under section 1322(a) will be paid
              in full unless modified under Section 8:

                     Name of Creditor                                      Estimated Total Payment
  NONE

    B.        Administrative Claims:

          (1)         Trustee fees. Percentage fees payable to the trustee will be paid at the rate fixed by the
                      United States Trustee, not to exceed 10%.
          (2)          Attorney fees. Check one box:
                           In addition to the retainer of $0 already paid by the Debtor, the amount of
                       $4,000.00 in the plan. This represents the unpaid balance of the
                       presumptively reasonable fee specified in L.B.R. 2016-2.
                          $___________ per hour, to be adjusted in accordance with the terms of the written fee
                       agreement between the Debtor and the attorney. Payment of such lodestar compensation
                       shall require a separate fee application with the requested amount of compensation
                       approved by the Court
              (3)     Other administrative claims.

                     Name of Creditor                                      Estimated Total Payment
  NONE



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 4. UNSECURED CLAIMS

      A. Claims of Unsecured Nonpriority Creditors Specially Classified. Includes
         unsecured claims, such as co-signed unsecured debts, that will be paid in full even
         though all other unsecured claims may not be paid in full.
    Name of Creditor         Reason for Special Classification      Amount of Interest               Total Payment
                                                                       Claim          Rate
  NONE

      B.      All remaining allowed unsecured claims shall receive a pro-rata distribution of
              any funds remaining after payment of the other classes.


 5. EXECUTORY CONTRACTS AND UNEXPIRED LEASES. The following
    executory contracts and unexpired leases are assumed (and pre-petition arrears to be
    cured in the plan) or rejected (so indicate):
  Name of Creditor Description of Collateral Monthly Interest Pre-petition Total                            Assume/
                                                   Payment      Rate       Arrears       Payment             Reject
 NONE                                             $                %

 6.    REVESTING OF PROPERTY: (Check One)

       Property of the estate will vest in the Debtor upon confirmation. (Not to be used with Section 2H)

      Property of the estate will vest in the Debtor upon closing of the case.

 7.    STUDENT LOAN PROVISIONS
       A. Student loan provisions. This plan does not seek to discharge student loan(s)
          except as follows:

           Name of Creditor           Monthly      Interest Rate Pre-petition Total Payment
                                      Payment                      Arrears
  NONE

                   (NOTE: If you are not seeking to discharge a student loan(s),
                   do not complete this section.)

 8.    OTHER PLAN PROVISIONS:
       A. Include the additional provisions below or on an attachment. (NOTE: The plan
          and any attachment must be filed as one document, not as a plan and
          exhibit.)

           (1) Claim amounts: The amounts of the claims listed in the plan and schedules are estimated
           amounts and are not admissions by the Debtors as to the amount(s) owed.
           (2) Property surrendered under Section 2 F. shall be surrendered in full satisfaction of creditors'
           claims.
           (3) Lien Releases.
                  (a) Personal Property: Upon the satisfaction, completion of cramdown payment, or
           other discharge of a security interest in a motor vehicle, mobile home, or in any other
           personal property of this estate in bankruptcy for which ownership is evidenced by a
           certificate of title, the secured party shall within thirty (30) days after the entry of the
           discharge order or demand execute a release of its security interest on the said title or


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         certificate, and mail or deliver the certificate or title and release to the Debtor or to the
         attorney for the Debtor. Confirmation of this plan shall impose an affirmative and direct
         duty on each such secured party to comply with this provision.
                 (b) Real Property: Upon the, completion of cramdown payment, strip off, or other
         discharge of a security interest in real property, the secured party shall within sixty (60)
         days after the entry of the discharge order file a satisfaction piece or release of its security
         interest in the office of the Recorder of Deeds for the county in which the real estate is
         located. Confirmation of this plan shall impose an affirmative and direct duty on each such
         secured party to comply with this provision.

 9. ORDER OF DISTRIBUTION:

 Payments from the plan will be made by the Trustee in the following order:

 Level 1: Adequate protection payments.
 Level 2: Debtor's attorney's fees.
 Level 3: Domestic Support Obligations.
 Level 4: Secured claims, pro rata.
 Level 5: Priority claims, pro rata.
 Level 6: Specially classified unsecured claims.
 Level 7: General unsecured claims.
 Level 8: Untimely filed unsecured claims to which the debtor has not objected.

 If the above Levels are not filled-in, then the order for distribution of plan payments will be
 determined by the Trustee using the following guide:

 Level 1: Adequate protection payments.
 Level 2: Debtor's attorney's fees.
 Level 3: Domestic Support Obligations.
 Level 4: Priority claims, pro rata
 Level 5: Secured claims, pro rata..
 Level 6: Specially classified unsecured claims.
 Level 7: General unsecured claims.
 Level 8: Untimely filed unsecured claims to which the Debtor has not objected.

 GENERAL PRINCIPLES APPLICABLE TO ALL PLANS

 All pre-petition arrears and cramdowns shall be paid to the Trustee and disbursed to creditors
 through the plan.

 If a pre-petition creditor files a secured, priority or specially classified claim after the bar date,
 the trustee will treat the claim as allowed, subject to objection by the debtor. Claims filed after
 the bar date that are not properly served on the trustee will not be paid. The Debtor is
 responsible for reviewing claims and filing objections, if appropriate.


                                                        /s/ Enrico Vail Smith
                                                        Debtor




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